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              UNITED STATES DISTRICT COURT

             SOUTHERN DISTRICT OF GEORGIA

                        STATE SBORO DIVISION


BOB AARON MIKELL                     )




                                     )




                                     )   Case No. CV609-065
                                     )             CR606-026
UNITED STATES OF AMERICA             )




                                ORDER

     The Court DENIES as frivolous 28 U.S.C. § 2255 movant Bob

Aaron Mikell's Fed. R. Civ. P. 60(b) Motion for Relief from judgment.

CV606-026, doe. 1611.

      SO ORDERED this 1st day of December, 2015.


                             UNITED STATES MAGISTRATE JUDGE
                             SOUTHERN DISTRICT OF GEORGIA
